     Case 2:24-cv-03552-RER-SIL                 Document 25           Filed 10/14/24         Page 1 of 23 PageID #:
                                                        402

                                                                                                                 Erin O’Leary
                                                                                                                 Grace Song
                                                                                                 77 Water Street, Suite 2100
                                                                                                 New York, New York 10005
                                                                                              Erin.oleary@lewisbrisbois.com
                                                                                             Grace.Song@lewisbrisbois.com
                                                                                                        Direct: 646.666.7706



     October 14, 2024



     VIA ECF

     Magistrate Judge Steven Locke
     100 Federal Plaza
     Courtroom 820
     Central Islip, NY 11722


              Re:     The Law Offices of Erica Yitzhak, et. al. v. Lambe, et. al.
                      Case No. 2:24-cv-03552

     Dear Judge Locke:

             We write on behalf of Respondent Paul Verner to request the formal sealing of Exhibit 2 (ECF
     Doc. No. 23-2) and Exhibit 4 (ECF Doc. No. 23-4) to the Status Report and Declaration of Paul
     Verner (ECF Doc. No. 23). On October 8, 2024, Mr. Verner filed his Declaration with supporting
     exhibits and inadvertently filed his IOLA account records without proper redactions1 which contain
     confidential information that should not be available to the public.

            By way of background, pursuant to the Court’s prior directives, on October 7, 2024, we made
     a supplemental production of discovery to establish that Mr. Verner’s earned attorney fees were
     deducted from Mr. Lambe’s settlement and Mr. Lambe’s portion was dispersed from Mr. Verner’s
     IOLA account to Mr. Lambe and/or Mrs. Lambe. The supplemental production included the redacted
     IOLA account bank records – the same records that were inadvertently filed without the redactions
     by Mr. Verner directly. By October 9, 2024, Mr. Weinstein had in his possession both the unredacted
     and redacted versions of Mr. Verner’s IOLA account records. Instead of immediately advising the
     undersigned of the inadvertent filing or error, and thereby complying with the September 16, 2024
     Order to maintain the records for “attorneys’ eyes only”, Mr. Weinstein immediately filed a letter
     motion for contempt quoting information from the unredacted IOLA account records and filing the
     same on the public record

     1
            We are informed that Mr. Verner had difficulty clearing the first set of redacted documents
     with Pacer and the redactions were apparently stripped when the .pdf program subsequently
     removed “coding”. He did not discover this error until the letter motion for contempt was filed.


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MARYLAND • MASSACHUSETTS • MINNESOTA • MISSISSIPPI • MISSOURI • NEVADA • NEW JERSEY • NEW MEXICO • NEW YORK • NORTH CAROLINA
OHIO • OREGON • PENNSYLVANIA • RHODE ISLAND • TENNESSEE • TEXAS • UTAH • VIRGINIA • WASHINGTON • WASHINGTON D.C. • WEST VIRGINIA
     147196541.1
Case 2:24-cv-03552-RER-SIL            Document 25        Filed 10/14/24      Page 2 of 23 PageID #:
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Magistrate Judge Steven Locke
October 14, 2024
Page 2



        While Respondent maintains that the supplemental production of October 7, 2024 clearly
established that all of the Lambe and Verner funds had been disbursed to a zero balance as of January
2020, now with the inadvertent filing of the unredacted records, there is no question as to the lack of
existence of funds to which Petitioner claims to be entitled. As such, Mr. Weinstein’s letter motion
for contempt is completely misplaced as he received exactly what he has been looking for and in the
form which he had been seeking – the Wells Fargo IOLA records. Given the above, it is quite
puzzling as to why counsel would file the letter for contempt and raises questions as to his true motive
in relentlessly seeking a more discovery and a turnover of funds that are simply no longer in Mr.
Verner’s account as the same were rightfully distributed more than four years ago.

        Accordingly, we request the formal sealing of Exhibit 2 (ECF Doc. No. 23-2) and Exhibit 4
(ECF Doc. No. 23-4) to the Status Report and Declaration of Paul Verner (ECF Doc. No. 23) as well
as permission to file a redacted version that was produced on October 7, 2024. A proposed redacted
copy is attached.

         We thank the Court for its time and consideration in this regard.

                                                    Respectfully yours,

                                                    /s/ Erin O’Leary

                                                    Erin O’Leary for
                                                    LEWIS BRISBOIS BISGAARD &
                                                    SMITH LLP


                                                   Respectfully yours,

                                                   /s/ Grace Song

                                                   Grace Song for
                                                   LEWIS BRISBOIS BISGAARD & SMITH LLP




                                 LEWIS BRISBOIS BISGAARD & SMITH LLP
                                          www.lewisbrisbois.com


147196541.1
        Case 2:24-cv-03552-RER-SIL      Document 25         Filed 10/14/24       Page 3 of 23 PageID #:
                                                404

Song, Grace

From:                        Song, Grace
Sent:                        Monday, October 7, 2024 11:42 PM
To:                          Lloyd Weinstein; Danielle Creegan
Cc:                          O'Leary, Erin; Paul Verner; Song, Grace
Subject:                     The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL;
                             Respondent's Motion to Quash
Attachments:                 Yitzhak - EAO Declaration iso Quash FINAL.pdf; Yitzhak - NOM Motion to Quash
                             Subpoena FINAL.pdf; Yitzhak - MOL iso Motion to Quash Subpoena
                             FINAL(146800565.1)(PV edit)(146905073.1).pdf; Exhibit B - Motion to Quash -
                             Supplemental Disclosure FINAL.pdf; Yitzhak - Exhibit A to EAO Declaration Quash.pdf;
                             Exhibits A-K to Verner's Declaration.pdf; 2024-10-7 Declaration of PWV w Doc
                             Production FINAL.pdf



Dear Lloyd,
Please see attached Respondent’s Notice of Motion, Memorandum of Law to Quash Subpoena, declarations, and
supporting exhibits. Please let us know if you have any issues viewing the attachments.
Sincerely,
Grace
Grace Song
Attorney
New York
646.666.7706 or x2127706




                                                      1
        Case 2:24-cv-03552-RER-SIL           Document 25         Filed 10/14/24        Page 4 of 23 PageID #:
                                                     405

Song, Grace

From:                            Song, Grace
Sent:                            Monday, October 7, 2024 11:56 PM
To:                              Lloyd Weinstein; Danielle Creegan
Cc:                              O'Leary, Erin; Paul Verner; Song, Grace
Subject:                         RE: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL;
                                 Respondent's Motion to Quash
Attachments:                     2024-10-7 Trust Journal SLIM VERSION.pdf


Dear Lloyd,

Also attached is the Trust Journal in support of Respondent’s Declaration.
This is being sent separately to avoid exceeding the maximum ﬁle size limit with the other attachments in my
previous email. Please let us know if you have any issues opening/viewing the attachments.

Thank you for your time.

Sincerely,
Grace

From: Song, Grace <Grace.Song@lewisbrisbois.com>
Sent: Monday, October 7, 2024 11:42 PM
To: Lloyd Weinstein <ljw@theweinsteingroup.net>; Danielle Creegan <dc@theweinsteingroup.net>
Cc: O'Leary, Erin <Erin.OLeary@lewisbrisbois.com>; Paul Verner <pwverner@vernerlaw.com>; Song, Grace
<Grace.Song@lewisbrisbois.com>
Subject: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL; Respondent's Motion to Quash


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Grace Song
Attorney
New York
646.666.7706 or x2127706




                                                           1
       Case 2:24-cv-03552-RER-SIL                      Document 25             Filed 10/14/24           Page 5 of 23 PageID #:
                                                               406

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From:                                    Lloyd Weinstein <ljw@theweinsteingroup.net>
Sent:                                    Tuesday, October 8, 2024 2:58 PM
To:                                      Song, Grace
Cc:                                      Danielle Creegan; O'Leary, Erin
Subject:                                 Re: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL;
                                         Respondent's Motion to Quash



   EXTERNAL



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                                                 Grace Song
                                                 Attorney
                                                 Grace.Song@lewisbrisbois.com

                                                 T: 646.666.7706 F: 212.232.1399

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                                                                        1
      Case 2:24-cv-03552-RER-SIL            Document 25         Filed 10/14/24        Page 6 of 23 PageID #:
                                                    407

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Sent:                           Tuesday, October 8, 2024 4:21 PM
To:                             O'Leary, Erin
Cc:                             Song, Grace; Danielle Creegan
Subject:                        Re: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL;
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   EXTERNAL



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Absent you showing me a page/pages to look at, my client will proceed as previously outlined.
Cordially,
Lloyd.

On Tue, Oct 8, 2024 at 3:59 PM O'Leary, Erin <Erin.OLeary@lewisbrisbois.com> wrote:

 Hi Lloyd,



 Mr. Verner prepared a detailed Trust Ledger with Declaration and the produced Well Fargo Banck records
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 other litigation. It is clear, that he holds no funds belonging to Mr. Lambe or his companies and in fact Mr. Lambe
 owes him money.



 The goal of this turnover action was to confirm whether any moneys were held by Mr. Verner. Mr. Verner’s
 supplemental responses of yesterday establish just that -- nothing remains in escrow.



 If something remains unclear as to the zero balance, please let me know.




                                                          2
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                                                              408
Erin




                                                Erin O'Leary
                                                Partner
                                                Erin.OLeary@lewisbrisbois.com

                                                T: 212.232.1408 F: 212.232.1399

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Sent: Tuesday, October 8, 2024 2:58 PM
To: Song, Grace <Grace.Song@lewisbrisbois.com>
Cc: Danielle Creegan <dc@theweinsteingroup.net>; O'Leary, Erin <Erin.OLeary@lewisbrisbois.com>
Subject: Re: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL; Respondent's Motion to
Quash




  EXTERNAL




Hello Erin:


                                                                       3
     Case 2:24-cv-03552-RER-SIL          Document 25 Filed 10/14/24 Page 8 of 23 PageID #:
                                                   409
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      Case 2:24-cv-03552-RER-SIL            Document 25         Filed 10/14/24        Page 9 of 23 PageID #:
                                                    410

Song, Grace

From:                           Lloyd Weinstein <ljw@theweinsteingroup.net>
Sent:                           Tuesday, October 8, 2024 5:06 PM
To:                             O'Leary, Erin
Cc:                             Song, Grace; Danielle Creegan
Subject:                        Re: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL;
                                Respondent's Motion to Quash



   EXTERNAL



Erin:
One point in the third paragraph of Mr. Verner's submission to the Court is his reference to previously
meeting me, but he claims that he cannot recall the matter. I can remind him:
He failed to pay his accountants for services rendered and when my client was exhausted by his
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    Case 2:24-cv-03552-RER-SIL                      Document 25 Filed 10/14/24                       Page 10 of 23 PageID #:
                                                             411


The goal of this turnover action was to confirm whether any moneys were held by Mr. Verner. Mr. Verner’s
supplemental responses of yesterday establish just that -- nothing remains in escrow.



If something remains unclear as to the zero balance, please let me know.



Erin




                                                Erin O'Leary
                                                Partner
                                                Erin.OLeary@lewisbrisbois.com

                                                T: 212.232.1408 F: 212.232.1399

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Sent: Tuesday, October 8, 2024 2:58 PM
To: Song, Grace <Grace.Song@lewisbrisbois.com>
Cc: Danielle Creegan <dc@theweinsteingroup.net>; O'Leary, Erin <Erin.OLeary@lewisbrisbois.com>
Subject: Re: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL; Respondent's Motion to
Quash
                                                                     6
   Case 2:24-cv-03552-RER-SIL                     Document 25 Filed 10/14/24                      Page 11 of 23 PageID #:
                                                           412


 EXTERNAL




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        Case 2:24-cv-03552-RER-SIL          Document 25 Filed 10/14/24                Page 13 of 23 PageID #:
                                                     414

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From:                            Lloyd Weinstein <ljw@theweinsteingroup.net>
Sent:                            Tuesday, October 8, 2024 5:41 PM
To:                              O'Leary, Erin
Cc:                              Song, Grace; Danielle Creegan
Subject:                         Re: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL;
                                 Respondent's Motion to Quash



   EXTERNAL



Will you show me the pages which show all of the money was transferred?

On Tue, Oct 8, 2024 at 5:26 PM O'Leary, Erin <Erin.OLeary@lewisbrisbois.com> wrote:

 Hi Lloyd,



 Mr. Verner, an officer of the court, has provided clear documentation as to his entitlement to the balance of fees
 and that there is no balance in his account from the related to the Lambe action. Given his detailed accounting
 with supporting retainer agreements, bank records, emails from clients and confirmation of amounts owed in
 attorney’s fees etc., he does not agree that he needs to show his private bank records reflecting transfers to
 himself. He is aware of the court’s orders and maintains that he is full compliance as is outlined in his status
 report filing of today.



 His position is steadfast. Please proceed as you deem necessary.



 Erin




                                        Erin O'Leary
                                        Partner
                                        Erin.OLeary@lewisbrisbois.com

                                        T: 212.232.1408 F: 212.232.1399

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                                                              415




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   Case 2:24-cv-03552-RER-SIL         Document 25 Filed 10/14/24 Page 15 of 23 PageID #:
                                                 416
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                                                      11
   Case 2:24-cv-03552-RER-SIL                     Document 25 Filed 10/14/24                       Page 16 of 23 PageID #:
                                                           417


                                                Erin O'Leary
                                                Partner
                                                Erin.OLeary@lewisbrisbois.com

                                                T: 212.232.1408 F: 212.232.1399




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Subject: Re: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL; Respondent's Motion to
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                                                                    12
 Case 2:24-cv-03552-RER-SIL       Document 25 Filed 10/14/24 Page 17 of 23 PageID #:
                                             418
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                                                               419

Song, Grace

From:                                    Lloyd Weinstein <ljw@theweinsteingroup.net>
Sent:                                    Tuesday, October 8, 2024 6:53 PM
To:                                      O'Leary, Erin
Cc:                                      Song, Grace; Danielle Creegan
Subject:                                 Re: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL;
                                         Respondent's Motion to Quash



   EXTERNAL



I confirm that you are refusing to respond. I will point out the deficiencies to the court and my efforts to
avoid motion practice.
I remain available if you want to discuss this matter

On Tue, Oct 8, 2024 at 6:34 PM O'Leary, Erin <Erin.OLeary@lewisbrisbois.com> wrote:

 Hi Lloyd,

 This is question for my client.




                                                 Erin O'Leary
                                                 Partner
                                                 Erin.OLeary@lewisbrisbois.com

                                                 T: 212.232.1408 F: 212.232.1399

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 From: Lloyd Weinstein <ljw@theweinsteingroup.net>
 Sent: Tuesday, October 8, 2024 5:41 PM
 To: O'Leary, Erin <Erin.OLeary@lewisbrisbois.com>
 Cc: Song, Grace <Grace.Song@lewisbrisbois.com>; Danielle Creegan <dc@theweinsteingroup.net>
 Subject: Re: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL; Respondent's Motion to
 Quash

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 EXTERNAL




Will you show me the pages which show all of the money was transferred?



On Tue, Oct 8, 2024 at 5:26 PM O'Leary, Erin <Erin.OLeary@lewisbrisbois.com> wrote:

Hi Lloyd,



Mr. Verner, an officer of the court, has provided clear documentation as to his entitlement to the balance of fees
and that there is no balance in his account from the related to the Lambe action. Given his detailed accounting
with supporting retainer agreements, bank records, emails from clients and confirmation of amounts owed in
attorney’s fees etc., he does not agree that he needs to show his private bank records reflecting transfers to
himself. He is aware of the court’s orders and maintains that he is full compliance as is outlined in his status
report filing of today.



His position is steadfast. Please proceed as you deem necessary.



Erin




                                      Erin O'Leary
                                      Partner
                                      Erin.OLeary@lewisbrisbois.com

                                      T: 212.232.1408 F: 212.232.1399




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From: Lloyd Weinstein <ljw@theweinsteingroup.net>
Sent: Tuesday, October 8, 2024 5:06 PM
To: O'Leary, Erin <Erin.OLeary@lewisbrisbois.com>
Cc: Song, Grace <Grace.Song@lewisbrisbois.com>; Danielle Creegan <dc@theweinsteingroup.net>
Subject: Re: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL; Respondent's Motion to
Quash




  EXTERNAL




Erin:

One point in the third paragraph of Mr. Verner's submission to the Court is his reference to
previously meeting me, but he claims that he cannot recall the matter. I can remind him:

He failed to pay his accountants for services rendered and when my client was exhausted by his
gamesmanship, my firm was retained to sue him for non-payment. He can tell you how the matter
concluded. I will be sure to let the Court know how he and I previously met in the forthcoming letter
motion.

Again, I urge your response to my prior correspondence.

Cordially,

Lloyd.



On Tue, Oct 8, 2024 at 4:21 PM Lloyd Weinstein <ljw@theweinsteingroup.net> wrote:

 Erin:

 Thank you for responding.

 Mr. Verner's curious filing just made notwithstanding, he fails to provide any evidence that those
 funds he claimed were his fees ever left the account. This important omission demonstrates that he
 is in clear violation of the Court's Order. If he would like to supplement his response now, I am
 ready to receive it. However, whatever he provides is late and deviates from the Court's clear
 instructions - both oral to Ms. Song - and written in its Order.
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                                                422
Again, I ask you to point me to the page(s) in the submission which shows Mr. Verner transferring
all of the funds out of the IOLA account. Based upon my review, he has failed to do so which
indicates the funds remain in the account.

Absent you showing me a page/pages to look at, my client will proceed as previously outlined.

Cordially,

Lloyd.



On Tue, Oct 8, 2024 at 3:59 PM O'Leary, Erin <Erin.OLeary@lewisbrisbois.com> wrote:

Hi Lloyd,



Mr. Verner prepared a detailed Trust Ledger with Declaration and the produced Well Fargo Banck records
reflecting all account numbers and wire transfers to the Lambes. He further established that his attorneys’
fees were depleted in January 2020 and any funds previously held were his attorneys’ fees and Retainer
Deposits for other litigation. It is clear, that he holds no funds belonging to Mr. Lambe or his companies and in
fact Mr. Lambe owes him money.



The goal of this turnover action was to confirm whether any moneys were held by Mr. Verner. Mr. Verner’s
supplemental responses of yesterday establish just that -- nothing remains in escrow.



If something remains unclear as to the zero balance, please let me know.



Erin




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                                                           423
                                                Erin O'Leary
                                                Partner
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sender, then delete this email and any attachment from your computer and any of your electronic devices where the message is stored.


From: Lloyd Weinstein <ljw@theweinsteingroup.net>
Sent: Tuesday, October 8, 2024 2:58 PM
To: Song, Grace <Grace.Song@lewisbrisbois.com>
Cc: Danielle Creegan <dc@theweinsteingroup.net>; O'Leary, Erin <Erin.OLeary@lewisbrisbois.com>
Subject: Re: The Law Offices of Erica T. Yitzhak et al v. Lambe; Case 2:24-cv-03552-RER-SIL; Respondent's Motion to
Quash




  EXTERNAL




Hello Erin:

I received this last-moment filing. Unless I am missing it, I do not see all of the funds transferred out
of the account. If I am mistaken, will you show me where that is?

I am preparing my letter seeking contempt because of the non-compliance with the order,
additionally seeking to recover fees, and I want to represent to the court exactly how much remains in
escrow.

I would like to file with Judge Locke today if possible, so may I please hear back from you promptly.

Lloyd.




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                                             424
On Mon, Oct 7, 2024 at 11:43 PM Song, Grace <Grace.Song@lewisbrisbois.com> wrote:

Dear Lloyd,

Please see attached Respondent’s Notice of Motion, Memorandum of Law to Quash Subpoena, declarations,
and supporting exhibits. Please let us know if you have any issues viewing the attachments.

Sincerely,

Grace
                                                Grace Song
                                                Attorney
                                                Grace.Song@lewisbrisbois.com

                                                T: 646.666.7706 F: 212.232.1399




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